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                          EXHIBIT A
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  UNITED STATES D]STRTCT COURT
  NORTHERN DTSTRICT OF NEW YORK
  JOHN DOE #1-#5,

                              Plaintiffs,
  VS.                                             5: 1B-CV-4 96
  SYRACUSE UNIVERSITY,     et al.   ,

                              Defendants.

                    Motion Argument - June 2I, 20IB
        James Hanley    Federal Building, Syracuse, New York
                   HONORABLE FREDERICK      J. SCULLIN,   JR.

              United States District        Judge, Presiding


                          APPEARANCES
  For Plaintiffs          SMITH, SOVIK, KENDRICK &        SUGNET,   D1
                          Attorneys at Law
                          250 South Clinton Street
                          Syracuse, New York 13202
                            BY: KAREN G. FELTER, ESQ.
  For Defendants:         HANCOCK ESTABROOK, LLP
                          Attorneys aL Law
                          1500 AXA Tower I
                          Syracuse, New York 13202
                            BY: JOHN POWERS, ESQ.



                       EiJ-een McDonough, RPR,      CRR
               Official   United States Court Reporter
                             P.O. Box 7367
                        Syracuse, New York 73267
                              (315) 234-8546
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 1                   THE CLERK: Case         on for motion argument is John          Doe

 2     #1-#5 versus Syracuse University, et al.,              1B-cv-496.
 3     Appearances for the record.
 4                   MS. FELTER: Karen Felter on behal-f of the
 5     plaintiffs.
 6                   THE COURT:      Ms. Felter.
 1                   MR. POWERS: John Powers on behalf of the
 B     defendants, Your Honor.
 9                   THE COURT: And         Mr. Powers. Ready to proceed?
10                   MR. POWERS: Yes, Your Honor.
11                   THE COURT:      WelÌ, as you know, and perhaps the
72     interns know as well-, pendíng before the Court t.oday are
13     plaintiffs' motions for a preliminary injunction and for
T4     l-eave to file      an amended complaint. These motions are
15     brought by an order to show cause.
T6                   Let me address, first          of al-I, the motion to   amend

t1     the complaint. Mr. Powers, there is no real objection to
1B     this, is there, ot.her than the fact that you have your o\^/n
I9     mot.ions with respect to the plaint.iff            as set forth   noI^I as

20     pending before Maqistrate Judge Peebles, is that right?
27                   MR.   POWERS   : Yes, Your Honor . As we stated,         \^/e


22     believe there is an automatic right to amend as a right
23     because we haven't answered yet. Our object.ion is that the
24     plaintiffs     haven't identified          themselves yeL, which is    a

?\     requirement of Rule 10. That's our only objection to the
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 1         amendment     of the pleading as it is.
 2                       THE COURT: And         that.'s pendinq before        Judge

 3         PeebIes, right?
 4                       MS. FELTER: Yes, it is, Your Honor. And I was
 5         going to add t.hat after we received -- it. was a cautionary
     6     measure to make the mot.ion to amend and, frankly, I wasntt
 't        sure whether 15 (a) would allow an amendment of right afLer 2I
     B     days of service.
     9                   THE COURT:         In any event, the Court wifl grant your
10         motion to amend and the issue with respect to Mr. Powers'
11         motion will be addressed by Judge Peebles, t.hat will                      be

I2         resolved there.          Okay.
13                       MS. FELTER: Thank you, Your Honor.
!4                       THE COURT: That.         leaves the motion for        a

15         preliminary injunction.             I have your submissions and have
I6         reviewed t.hem. And do you wish to be heard further at this
I1         time   ?

10
1U                       MS. FELTER: I do, Your Honor.
19                       THE COURT: You may proceed.

20                       MS. FELTER: Should I stay here or do you want                     me

2I         t.o come    up?

22                       THE     COURT: I'lI      tell you what, what's        more

23         comfortable       ?


24                       Mq      FELTER:     It doesnrt matter.
atr
LJ                       THE COURT:         It' s easi-er if you have the microphone
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 1     in front of you. Why don't you come up here and use that
 2     because the people in the back of the room want to hear what
 3     you have to say too.
 4                  MS. FELTER: Okay. So defense counsel is correct
 5      in describing the plaintiffs'  --
 6                  THE COURT: Can you hear her back there? Okay.

 1                  MS. FELTER: -- in describing the plaintiffs'
 B     request for leave in this case as narro\^/. Specifical-Iy, the
 9     plaintiffs have sougtht release of their transcripts without
10      the notation t.hat hlas proposed by the University in a June 11
11      e-mail from Eric Nestor. Specifj-cally in t.hat e-mail- Nestor
L2      advised students at approximately 3:01 on Monday, June 11th
13      that. t.he Office of Student. Rights and Responsibilit.ies wouÌd
1,4     be submitting paperwork t.o the Registrar's Office to have the
15      Administrative Withdrawal - University Initiated notation
I6      placed on t.heir academíc transcripts. He advised the
I1      students that this should happen this week, indicating it       had

1_B     not yet been done. He said that aft.er the notaLion was
I9      applied, the OSR office woul-d then rel-ease the transcript
20      holds.
2I                  So in the evidence that's been submitted in
aa
LL      opposition to -- well, let me back up by saying, this present
23      motion that we filed was filed 4B hours, approximately, after
24      Mr. Nestor sent that e-mail-, and that was ín an attempt to
25      prevent the University from marking the students' transcripts
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 1      prematurely at the time when the     OSR   office was, according to
 2      Nestor, in the process of request.ing transcript notations.
 3                So in opposition to our motion, the University has
 4       submitt.ed an affidavit   from Mr. Nestor, which has an exhibit
 5       from the Registrar's Office with data showing t.hat the
  6      transcript holds ï/ere already i-n place  I'm sorry, that the
 1       transcript not.ations were already in place when he sent that
  B      e-mail. So the Registerrs data shows that the transcript
  9      holds \^/ere released between 3202 and 3:45 p.m. So the
10       transcript holds obviously would not have been deleted if the
11       transcripts were noL already marked.
L2                  Consequent.ly, Nestor's e-maiI was disingenuous and
13       misleading, since it's    obvious that the students were not
I4       notified of the UniversiLy's intention to add these notations
15       untíI after the notations had already been made. So the
1,6      University is nor^/ arguing that a higher standard of review
I1       applies to this motion.
1B                               I interrupt you at that point in
                    THE COURT: May

I9       time? I think that's important to put this in context with
20       what the real issue is here today.
2I                  For edification for those who are observing this,
22       at a preliminary injunction the parties seekinq it must
a')      establish irreparabÌe harm, either likelihood of success on
24       the merits or serious question on the merits, and a bafance
ttr,     of hardships in favor of the movj-ng party and the public
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  1      interest as welI.
  Z                 Here there is a dispute over whether this request
  ')
  J      for an injunct.ion is a mandatory injunction or a prohibitory
  4      injunction. If it's mandatory, that means you wish to change
  5      the stat.us quo. If it's      prohibitory,    that means you wish to
  6      keep it the way it is.        So the íssue becomes what is the
  '7
         status quo and when was it established. And thatts what
  B      you're arguing against it right now, I gather?
  9                 MS. FELTER: More or less.
10                  THE COURT:     All right.
11                  MS. FELTER: So, I mean, the point is they're          noh¡

I2       arguing that this higher standard should apply because then
1')
fJ       it woul-d require removaf of this mark from their transcript.
I4       But the fact of the maLter is that the students were never
15       afforded an opportunit.y to prevent the marking of the
I6       transcripts until after it. had already been accomplished.               So

I1       to t.he extent that the request that werre seeking can be
1B       deemed mandatory    relief,    thatrs entirely the fault of   t.he

I9       University for not advising the students beforehand that it.
20       was planning to t.ake this improper action. Because, as l/ve
2I       argued in the mot.ion papers, the notations -- I should say
22       the effect of the decision is stayed pending an appeal.
23                 So if the University is taking the position that
24       they want to preliminaril-y release the transcripts, they
25       can't do so with this not.ation pending the results of the
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 1         appeal.
 2                       The University's counsel is also correct in stating
 3         t.hat plaintiffs    did not address the likelihood of success in
 4         getting this Court to reverse the Conduct Board's decisions,
 5         and that is because no such cfaim for relief exists in this
 6         case. Contrary to the University's conLentions that the
 '7        plaintiffs have not requesLed that this Court overturn the
 B         Conduct. Board's decisions because it has no jurisdiction to
     9     do so.
10                       Instead, t.his case is about the University's breach
11         of its contractual agreements with t.he students and
1,2        defamat.ion. Specifically, as referenced in the complaint,
13         the students have a right of free expression limited only by
T4         the language of the student. Code of Conduct. which prohibits
15         fighting words. And the conduct here was not fighting        words
I6         because it was not directed at. anyone outside of the
I1         fraternity, it was satire, and it did not cause an immediate
1B         breach of the peace. In fact, no one even knew that this
I9         incident had taken place until weeks later when the videos
20         were improperly released by the Daily Orange from a private
2I         website.
22                       The students here in t.his case also pursuant to the
LJ         University's contract with them have a right t.o fundamentaf
24         fairness in connection with any disciplinary action. The
25         University argues that due process was afforded the
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 1      plaint.iffsin the conduct proceedings, but this is frankly an
 2      argument for another day in a different forum. There is an
 3      administ.raLive record of the disciplínary proceedings, and to
 4      quote the chairman of the Conduct Board, "that record will
 5      speak for itself in any Article 78 proceeding."
 6                    The University's argument about the process that's
 1      been afforded to the students fails         to address the basic
 B      problem at issue in this case, which is these students never
 9      shoul-d have been charged with the violations         outlined in the
10      charging documents to begin with.         Fundamental fairness ín
11      the disciplinary process has Lo incl-ude a prohibition against
I2      t.he University stretching and manipulating the Code of
13      Conduct to penalize conduct that is not contemplated by the
I4      code.
15                    Specifically,   the plaint.Íffs   have asserLed that the
I6      conduct charges bear no relationship to the facts in the
r'l     case, that is that they engaged in a satirical roast' which
1B      the University's own investigation found was voluntary, not
I9      offensive to anyone present, and did not involve violence,
20      coercion or drugs and alcohol.
2I                            Ms. Felter, now you're really talking
                      THE COURT:

22      about the merits of the act.ion now. Can we just focus on the
23      preliminary injunction, what the status quo may be?
24                MS. FELTER: Sure. Absolutely. So       I'11 just
25      move on here.
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 1                 I think that it's     important to underst.and that     as

 2      part of      I mean, if the students are required to show that
 3      t.hey're likely to succeed on the merits of the case, then, of
 4      course, that goes to the question before the Court. which is
 5      whether an injunction is proper.
 6                 THE COURT: And      that's if the Court finds it's      a

 1      prohibitory injunction, noL a mandatory, because the
 B      mandaLory injunction has to show that it's a clear and
 9      subst.antial likelihood of success.
10                 MS. FELTER: Well, as I referenced, I think that at.
11      the time t.he facts that blere available to the plaintiffs at
1,2     the time that this motion was filed suqgested that we l¡/ere
13      going to be preventing the University from marking
I4      Lranscripts and releasing the hold prematurely. As it- turns
15      ouL, that action had already taken place.
T6                So the University is nohT arguing that this
LI      injunct.ion has been transformed into a mandatory injunction
1B      by way of the fact that the markings on the transcript.s have
79      to be removed now. But as I said, that is entirely the fauÌt
20      of the University and not advising the sLudents before they
2I      h/ere taking this action that they \^/ere going to do so.
22                  THE COURT:   As I understand it,        your position is
ZJ       the status quo that you're trying to preserve is before the
24      markings took place.
25                 MS. FELTER: ExactlY.
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 1                 THE COURT: So    that would have been     when?

 2                 MS. FELTER: VüeIl-, I mean, according to the
 3      University, t.hey have the option of holding a transcript
 4      under any circumstances t.hat require suspension. However,
 5      our position is that, you know, t.he
 6                 THE COURT: They    agreed Lo release the transcripts,
 1      t.hey just want the markings to stay on the transcripts.
 B                 MS. FELTER: Right.      Except that at this point t.hey
 9      had no right to put the markings on the transcripts,           because
10      according to their own policy, any results of the hearing is
11      stayed pending appeal. And so they are claiming that they're
I2      releasing the transcripls early as a favor to these students
13      so that they can transfer. But, frankly, I think that's more
I4      about mitigating the damages that they've caused in this case
15      by delaying improperly both the initial- decisions on the
I6      disciplinary action, which took weeks and weeks,
[t      not.withstanding the fact that they said that it would          be

1B      wrapped up very quickly, and then the delay in deciding the
79      appeals, which according to their rules are supposed to              be

20      decided within three days of alI submissions.
zJ-                In this case the appeals \^/ere finalized     and

22      submitted completely as of June B, and we still        don't have          a

ZJ      decision from the University, and they sent an e-maiJ- saying
24      that there was going to be a further deJ-ay. So that delay is
25      preventing the students from getting a final resolution              on
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                                                                                       11
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 1       this disciplinary action and authorizing them to then go and
 2       start an Article 7B proceeding where the impropriety of the
 3       procedures that r^/ere used would be an issue and their ability
 4       to get an injunction in that case.
 Jtr               THE COURT: I thought the appeal had already                  been

 6       t.aken and it     r^ras   present.ly being considered?
 1                     MS. FELTER: Yes. But we have no idea when that
 B       appeal- will     be resolved and t.he Art.icle 7B action cannot          be

 9       started.
10                      THE COURT:      Until the decision?
11                     MS. FELTER: Exactly.           So there has been t.his
I2       inordinate delay which is cutting into the time that              t.he

13       students have to apply to other schools.
I4                      THE COURT:      Vriell, the Article 7B proceeding will
15       take   some    time too.
T6                      MS. FELTER: Absolutely.
I7                      THE COURT: So      as a practical matter, if the
1B       notation stays on the transcripts until aft.er the Article 7B
19       proceeding takes place, it's going to be long past the time.
20                      MS. FELTER: Vriell, and the point is that., first              of
2I       all,   in the very first        instance there is a possibility        that
)a       the University will reverse the decisions of the Conduct
         Board in the appeal process, which, you know, the kids have
24       the obligation to try to transfer now. Every day that                  goes

25       by is another day that they're limited in t-heir ability                 to
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 1     get t.heir transfer applications in.
 2                THE COURT:    Well, the crux/ as I understand it,     is
 3     the notations on the transcripts, because the University has
 4     agreed to release the t.ranscripts but with the notatíons.
 5     And your position is t.hat the noLations are additional of the
 6     matters t.hat \^rere put. on after t.he status quo was met and you
 1     want to preserve the status euo, which is sometime before the
 B     not.ati-on. But do you have a date, time     frame?

 9                MS. FELTER: WeII, as far as I know, up until
10     June

11                THE COURT:    June 2Ist is what the
I2                MS. FELTER: June 2LsL, up until       June 21st the
13     University had been holdíng the transcripts. And pursuant to
I4     whatever policy that they claim, frankÌy, I think that, Yoü
15     know, we have argued the impropriety of that.         But that the
I6     University was holding the transcripts, advised t.hem in the
I1     afternoon on the 2IsL that iL was going to put these
1B     notations on there and rel-ease the transcripts at some point
I9     during the week. But, in fact, the data from the Registrar's
20     Office shows that they actually did mark the t.ranscripts and
2I     rel-ease the holds before or at the same time that they sent
22     that notice to the students.
a2                 So, you know, there is a possibility      that the
24     appellate board will reverse the determination of the Conduct
25     Board, but in the meantime the students, they're caught
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 1      between a rock and a hard place.          Do they wait weeks longer
 z      unt.il the University issues this decision with the
 3      possibility that t.hey could get a reversal, or do t.hey accept
 4      a transcript now that's been released that has this mark on
 5      it that shouldn't. be there because the process has not been
 6      completed?
 1                   THE COURT:   Let   me   hear from Mr. Powers now, if I
 B      may. Mr. Powers, I believe you maintain that. the hold date
 9      for pl-aint.iffs' records is April 2IsL. Is that Lhe notat.ion
10      date too?
11                   MR. POVüERS: No, it wasn't, Your Honor, and I
I2      believe I can explain.
13                   THE COURT:   AIl right.
t4                   MR. POWERS: Your Honor, as you mentioned, and I
15       know you want to focus in on the precise issue in front of
I6       yoü, I want to emphasize t.hat h¡e're here on an equitable
T1       request before the defendants have even had t.he opportunity
1B       to answer this action.     It's an exLraordinary pol¡/er that the
79       Court has but it's     only sparingly used. It's a high burden
20       even if it's  a prohibitory injunction.
2I                   What the plaintiffs are asking you to do is
22       something different.     They're asking you, and f'm going to
ZJ       tetl you exactly what. their argument is, but they're asking
24       you to do two things they are not entitled to, to order t.wo
atr      things that they are not entitfed to.         What they would like
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  1       to do is they would like to transfer from Syracuse University
  2       while this discipJ-inary process is pending and have a
  3       transcript,  a clean transcript sent to t.he receiving
  4       unj-versity, the university t.hat they're applying t.o, as if
  5       nothinq had occurred and there h/as no discipline pending.
  6                     The theory behind that. argument is that the
  1       Universityts not alÌowed to place a hold on the transcript.
  B       That's not the case. That's the factual predicate for their
  I       motion. They're talking about annotation but. annotation is
10        the secondary question. Because if their transcript is being
11        held by the University and iL's not released until the end of
I2        the process, in other words, after the appeal board rules and
13        vice chancellor reviews t.he decísion, that's when t.he
74        Lranscript. gets refeased. That's when in the ordinary
15        circumstance Lhe transcript is annotated.
I6                      THE COURT:   fs that. what you're stating is
I1        University policy?
1B                      MR. POWERS: Yes, it is, Your Honor. And I would
19        like to make a specific record of that.. Because it's been
20        advanced by the plaintiff, who has the burden of clear and
2I        substantial evidence for a mandatory injunction, that t.he
22        policy is that you can only hold a transcript on a Title IX
.) ')
LJ         charge, and there ís no evidence of that.       There has been   no

24         evj-dence presented of that.
25                      What v,¡e've offered is testimony from the assistant
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 1         director of the Office of Student Rights and
 2         Responsibilities, that's the deparLment responsible for
 3         administering student discipline, that it's the policy of the
 4         University in every student conduct case to hold t.he
 5         t.ranscript. This makes good sense, Your Honor. And it qoes
 6         to this public interest issue that \n/e're going to talk about
 1         j-n a minute. That the students aren't allowed to apply and
 B         wit.hdraw while they have dísciplinary    charges against them.
     9                THE COURT:    Apply and withdraw from the University?
10                    MR. POWERS: To apply to another university,
11         withdraw from Syracuse.
I2                    THE COURT:    Is t.hat set forth?   They refer to
1)
fJ         reqistry I bel-ieve ín the
I4                    MR. POWERS: So the two policy statements t.hat are
15         contained on the website that Mr. Nestor refers t.o in his
I6         declaration, one is from the Office of Student Rights and
I1         Responsibilities web paqe, and it indicates that, "Staff from
1B         this office can place a hold preventing a student from
T9         attempting t.o register until any outstanding ¡udicial actions
20         are settl-ed." It qoes on to sây, "Students with this hold
2I         should contact the Office of Student Rights      and

22         Responsibilities."  Itrs not limited to Title IX charges,'
23         there is a hold for every judicial action.
24                   The other section which is from t-he transcript page
25         reads, "Transcripts are not released for students with
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 t-     outst.anding student conduct obligations."  Again, not limit.ed
 2      to a certain type of cl-aim. And there is no principled
 3      reason t.o limit the hold to just one type of claim, Your
 4      Honor, because the rationale is that the student. is not being
 5      forced to accept. responsibility for their actions through the
 6      student disciplinary process and they're applying to a school
 1      that has no knowledge that they've committed some mi-sconduct.
 B      It's bad for the student, it's bad for Syracuse, and it's bad
 9      for the receiving school.
10                 Now   I also wanL to draw your att.ention to Section
1_1     15.1 in the student code.
1¿)
!L                THE COURT: Mr. Nestor's statements when he opines

13      upon the policies are based upon that code, is that correct?
L4      The St.udent Conduct System Handbook is what he based upon?
15                 MR. POWERS: The way I would describe it,       Judge, is
I6      the policy is the policy.     That it's   the regular practice of
L7      the University to do so and that's corroborated on the
1B      website.
19                 THE COURT: Is there a writt.en policy?
20                 MR. POWERS: VrTelI, I'm about. to get to that,    Your

2I      Honor, I'm going to read it for you.
Z¿                 THE COURT: What    are you reading from?
ZJ                 MR. POWERS: Section 15.1 of the student
24      disciplinary.
25                 THE COURT:    I'm not clear.
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 1                MR. POWERS: It's               Exhibit.   A,   Judge, page 23.
 2     Exhibit A t.o Mr. Nugent' s declaration.                  Read   t.his for the
 3     record.
 4                THE COURT:          A student, University Student            Handbook?

 5                MR.   POVúERS   :    Yes   .


 6                THE COURT:          Yeah, that's what I was asking you.
 7     That's what he is referring to as a source of information
 B     when he opines on the policy, right?
 9                MR.   POWERS    : Well, he      erred to t.his, Your
                                                     hasn ' t ref

10     Honor, but this is actually stat.ing the poJ-icy. He doesn't
11     reference this in his declaration but this is actually
I2     stat.ing the exact    same      policy.
13                 THE COURT:         But that's where he draws hi-s opinion
I4     from?
15                MR.   POVùERS   :    Yes   .


76                 THE COURT: Thank you.

I1                MR. POVüERS: It states, "A student who chooses to
1B     withdraw from the University rather than participate in the
T9      conduct process may be classified as having been withdrawn
20      for disciplinary reasons. This status will be noted on the
2I      student's transcript as Administrative Withdrawal
ZZ      University Initiated."  That's exactly what. happened here,
23      Your Honor.
24                 It goes on to state, "A st-udent who withdraws under
25      these circumstances may not receive a transcript, " dot dot
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 1     dot, "until the pending matter is resolved." It's not
 2     limit.ed Lo certain types of claims,' it's all claims.
 3                  And as I said, Judge, there is very good reasons
 4     why you do this.     You've got to let the process run its
 5     course. It. I s nol preventing these students from
 6     t.ransferring. Vrlhat it's preventinq t.hem from doing is
 1     transferring without accounting for their conduct at their
 B     prior university. If they're vindicated at the end of the
 9     process, great, the hold is released and their transcript is
10     cl-ean.
11                  THE COURT:     All right.           But we're not talking   about.

T2     the hold now, we're talking about the notation on
13     transcripts, right, you agreed to release them.
I4                  MR. POWERS: And what happened, Your Honor, is t.he
15     Universj-ty offered to treat these students differently.  In
I6     other words, deviaLe from the policy and rel-ease the hold.
I1     But the condition of that release was that the annotation
1B     would be put on the transcript.  And that is    that
19     annotation is exactly as is quoted in Section 15.1,
20     Administrative Vüit.hdrawal - University Initiated.
2T               Now what the meaning of that is, that's up t.o the

22     dialogue between the transferríng student and the target
23     university. That's their issue to deal with with t.he school
24     that they're transferring to.
¿3                  THE COURT: Was     there an agreement, though, here?
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 1                 MR. POVüERS: I beg your pardon?
 2                 THE COURT: Was     there an agreement? That.rs     where

 3      you said it's     based upon an agreement between the university
 4      and student.s. Was there an agreement here as t.o the
 5      annotation?
 6                 MR. POWERS: No. Condition I said, Your Honor. It
 1      was not an agreement, it was a condition of the release of
 B      the transcript.
  9                THE COURT:     But was it agreed t.o, the condition
10      upon release of t.he transcript.?
1-1                MR. POWERS: Apparently not.
I¿                 THE COURT:     That's why we're here.
13                 MR. POWERS: Well, the transcripts were not
T4      released. They were only going to be released on t.he
15      condition and therefore
1_6               THE COURT: WeIÌ, yoü withdraw the hold on them             so

1,7     they can be refeased and will be released, as I understand
1B      it, except they will have the notat.ion on it?
I9                 MR. POWERS: Consistent with Section 15.1.
20                  THE COURT:    That's right.   And will    be released,
27      can be released if requested but with the notation.
22                 MR. POVüERS: Right.      And my understanding is
ZJ       they've already been annotated as of June 11th. That was the
24       communication from Mr. Nestor.
1tr
¿J                  THE COURT:    Irm sorry, they've already been what?
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 1                   MR.   POWERS   : Annotat.ed.
 2                   THE COURT:      I know they \^/ere annotated, but    when

 3     r^/ere   they annotated?
 4                   MR. POVüERS: June 11. The hol-d was April 21st.
 5                   THE COURT:      Okay. And as of June 11th it      was

 6     changed and annotated. Now then wouldn't this be the request
 7     for a preliminary injunction, wouldn't this be prohibitory?
 B                   MR. POWERS: Absolutely, Your Honor.
 9                   THE COURT: Pardon me?

10                   MR.   POWERS   : Absol-utely.
11                   THE COURT:      Prohibit.ory not    mandat.ory?
I2                   MR. POWERS: Mandatory. I'm sorry, I misheard you.
13     Itts a mandatory injunction.
I4                   THE COURT:      But it existed prior to June 11th in                 a

15     certain form.
16                   MR. POWERS: What. they're asking you t.o do, Your
I1     Honor, is to remove the annotation and that's commanding                      an

1B     affirmat.ive act.       They're asking you to order the University
I9     t.o change something t.hat.'s already done.
20                   THE COURT: Depends       on when the status quo     r¡/as   .


2I     Vrihen   was the status quo status here?
ZZ                   MR. POWERS: June 11.
ZJ                   THE COURT: Why was       June 11th the status quo?
24                   MR. POVüERS: Thatrs when the transcripts \^Iere
z3     annotated.
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 1                 THE COURT:    I understand that.   But that wasn't
 2     when   the proceeding began, it wasntt when the issues     became

 3     in conflict.
 4                 MR. POWERS: The status quo is established as of
 5     the time of the request for the injunction, Your Honor, at
 6     the time the plaintiff requests the injunctive rel-ief.
 1                 THE COURT: And you    disagree with that?
 B                 MS. FELTER: A couple of things, Your Honor. First
 9     of all, Mr.Nestor did not say that t.he transcripts are held
10     in every case. He absolutely did not say that. Hís
11     affidavit   says that they're hel-d in cases where suspensíon       j-s

72     authorized.
13                 THE COURT:    Aside from that, your position is
I4                 MS. FELTER: So t.he fact of the matter ís, if
15      somebody is going -- the two references in the website to,
I6      you know, the ability of the University to do this, there are
I7     notes in the website. If anybody wants to know what the
1B     school's policy is based on conduct proceedings' they look to
19      the policy in the conduct handbook which says that the
20      transcript.s will be held if there is a Title IX violation.
2I      So that's the first   t.hing.
ZZ                 The second thing is
ZJ                 THE COURT: Counsel, whether     or not you agree as to
24      the status quo beginning the date.
25                 MS. FELTER: I don't.
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 1                 THE COURT: The    date the preliminary injunction       \^Ias

 2     filed.
 3                 MS. FELTER: I don't.     And the Section 15.1 that he
 4     is referring to isn't even applicable here, because this says
 5     a student who chooses to withdraw from the University rather
 6     than participate in the conduct process may be classified           as

 1     having withdrawn for disciplinary        reasons. That is
       absolutely not what happened here. These students have all
 9     gone

10                 THE COURT:     I'm trying to focus you both on   one

11     thing.    Before you go any further, I got. to know which
T2     standard to apply; whet.her it's    a prohibitory injunction
13     you're request.ing or mandatory. And before I can do that
I4     ftve got to know what the stalus quo is, when it attaches.
15     So I need to have that issue further briefed by both of you,
T6     because you're not focusing on that.        You're going on to     t.he

I1     merits.
1B                 MS. FELTER: Our position would be the status quo
19     was established when the Universíty decided to hold the
20     transcripts,   and even if you assume for the sake of argument
21     that they have the right to do that, they are changing t.he
22     status quo by releasing the transcripts now t.o them with a
ZJ     notat.ion on there.    And contrary to what Mr. Powers said,
24     there was no    the e-mail that came to the students did not
25     state that there was a condition that they could get thelr
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     1       transcripts.  It wasn't an offer for them to get the
     2       transcripts if they accepted the condition, it was simply                   a

     3       directive.
     4                     Because the University has found you guilty of
     5       these charges, w€'re marking your transcripts,               period.   There

     6       \^ias   no opportunit.y for the students to engage in acceptance
     7       of that.      So the fact of the mat.ter is that. the University
     B       changed the stat.us quo on June 11th by marking the
     9       transcrj-pts.
10                         THE COURT:    Mr. Powers, the status quo begins          when

11           the preliminary injunction motion was filed?
T2                     MR. POWERS: Yes, Judge. Under the Second Circuit
13           standard to determine whether it's prohibitory or mandatory
L4           by what relief     is being requested. If you're being asked to
15           order something to happen, an affirmative acL --
I6                    THE COURT: I understand t.hat. Vrlhat is your

II           position as to when the stat.us quo attaches?
1B                     MR. POWERS: It attaches as of the filing                 of the
I9            request for preliminary relief.
20                         THE COURT: When was         that filed?
2I                         MS. FELTER: That was fited on the 13th.
22                         THE COURT:    Of    June?

23                         MS. FELTER: Of June.
24                         THE COURT: And       the noLations   \^rere   pul- on the 6th
)    E:,
              of June, i s t.hat correct   ?
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 1                       MR. POWERS: The 11th, I believe.
 2                       THE COURT: The       11th of           June?

 3                       MR. POVIERS: It was certainly before the filing.
 4                       MS. FELTER: But we had no way of knowing that the
 5      transcripts were already marked at the t.ime, the University
 6      didn't provide that information to the students,                                 so
 '7
                               That isn't the point. The point is
                         THE COURT:

 B      when the status quo j-s attached before f can decide which
 9      standard to appJ-y. And it is a heavier burden on the
10      standard for mandatory injunction, is a difficult                                 burden,         and

11      certainly is easier to make a ruling on that than it is                                      on

72      the other one. I need to have maybe some further briefing on
13      that. And anything else we want to get into? Thatrs what I
L4      got stuck on when I was going through the papers here.
15      Mandatory is a difficult burden, I don't think you're going
I6      to make t.hat. Mandatory is cfose, but I need to know what is
I1      the status quo that \,,re're talking about.
1B                       MS. FELTER: As I said at the beginning, to clarify
I9      and just to put a point on it. is that our position is that
20      the University, given what we got in opposition to this
27      motion, we realized that the fact- that- there is a possibility
22      that the mandatory standard would apply is only the                                   case
23      because of the action that the University took.                                  They have
24      prevented us from applying for a prohibitory injunction
25      because they didn't notify the students they \^/ere taking this
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 1      action before they did, so t-hey changed the status quo.
 2                THE COURT: I understand there is a change in the

 3      status quo. But the filíng of the injuncti-on for preliminary
 4      j-njunction, it depends upon what. t.he status quo is you're
 5      trying to preserve, that's what T'm trying to figure out
 6      first.
 7                  MS. FELTER: I guess my point is I don't know why
 B      the University would get the benefit of changing the status
 9      quo wit.hout- advising anybody and then be abl-e Lo turn around
10      and argue, weII, the status quo is changed so you have to
11      meet this higher standard.
1,2                 THE COURT:     AII right.  Anything further?
13                  MR. POWERS:     Judge, I'm prepared -- T know you want
L4      briefing on which standard applies.       I don't think the lesser
15      standard applies, I'm prepared to argue that. as wel-l. But
1,6     there is no entitlement to relief here. What they're
T7      requesLing, to be able to transfer as if nothing       had

1B      happened, they haven't demonstrated that t.hey have that right
19      to begin with.    Itrs certainly not consistent with the
20      evidence in front of you.
2L                Not just Mr. Nestor's testimony, but also these
22      corroborating references in other places in the policy. The
23      University's policy's not just set fort.h in the disciplinary
24      code, it exists in all published documents by the University
25      that are provided to students so that they know what rul-es
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 1      they're being held t.o. This academic hold on the transcripts
 2      is something that routinely occurs, there is no evidence to
 3      the contrary.      There is no bad faith here either, by the way.
 4                    THE COURT:     All right.            By the way, we haven't
 5      addressed public interest.          Is there any need for either side
 6      to arque that. point, you think, either of                 you?

 1                    MS. FELTER: I think it goes back to what I just
 B      said about Section 15.1. I mean, the University claims t.hat.
  o     the policy of holding transcripts and all- of this has to do
10      with preventing students from absconding from the
11      disciplinary process. And the fact of the matter is, that
T2      they went t.hrough the disciplinary process. You know, they
13      submitted themsefves to it and the University is delaying the
T4      finality     of that process and prevent.ing them from applying to
1tr
-LJ     a state court for Article 7B rel-ief and injunctive rel-ief                  .


I6                    So they're caught between a rock and a hard place
I1      here. So as far as the University's public policy, public
1B      interest,  I suppose, in making sure that t.he students                go

I9      t.hrough the disciplinary process, t.hat.'s happened.
20                            Well, it's a refatively new
                      THE COURT:

2I      requirement, as you know, of preliminary injunction.                   But
22      whether or not. t.he interest is in the interest of the publlc,
23      we need to probably add that into your additional briefing by
24      both sides. But I need to hear more about the status                   euo,
25      whatever you have on that.
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 1                 I will give you something by Monday, and if I      need

 2      further argument, then I'l-I take it, but I think we'II
 3      probably have enough to make a decision t.he following day.
 4      Monday enough    time? Can you qet it in on Monday?
 5                 MS. FELTER: Yes.
 6                 THE COURT:    Get it in on Monday and we'Il get it to
 1      you. Anything further you want to put on the record?
                   THE   CLERK: Court- is adjourned.
 9                        *

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                       CERTTFICATION


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